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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     ATTORNEYS FOR DEBTOR

     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC,1                                        Case No.: 21-30589 (MBK)

                                Debtor.                          Judge: Michael B. Kaplan

     LTL MANAGEMENT LLC,
                    Plaintiff,

     v.                                                          Adv. No. 21-3032 (MBK)

     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE DOES 1-1000,
                       Defendants

                           NOTICE OF AGENDA OF MATTERS SCHEDULED
                            FOR HEARING ON JULY 6, 2022 AT 10:00 A.M.



 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.



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           Pursuant to the Order Adjourning Matters [Dkt. 2609], the hearing will be held via
            Zoom only. All parties who intend to present argument should contact Chambers
           at chambers_of_mbk@njb.uscourts.gov and provide the name and email address of
               the speaker, as well as provide information regarding the party the speaker
                            represents and/or the purpose of the appearance.

            Parties are directed to https://www.njb.uscourts.gov/LTL for observing via Zoom.

 STATUS CONFERENCE

 Pursuant to the Court’s July 1, 2022 order, a conference is going forward to discuss the Court’s
 expectations for the July 26, 2022 hearing and for the case going forward.


 MATTERS NOT GOING FORWARD IN THE BASE CASE OR IN THE ADVERSARY
 PROCEEDING

 1.      The status conference on the arguments as to the merits of a claims estimation hearing.

         Status: Pursuant to the Order Adjourning Matters [Dkt. 2609] (the “Order”), the
         status conference has been adjourned to the July 26, 2022 hearing.

 2.      Travelers Casualty and Surety Company’s Motion for an Order Granting Relief from the
         Automatic Stay to Allow the NJ Coverage Action to Proceed [Dkt. 1488].

         Status: Pursuant to the Order, this matter has been adjourned to the July 26, 2022
         hearing.

 3.      Motion by the New Jersey Coverage Action Plaintiff-Insurers for an Order
         (I) Confirming That the Automatic Stay Does Not Apply to the New Jersey Coverage
         Action or, in the Alternative, (II) Granting Relief From the Automatic Stay to Allow the
         New Jersey Coverage Action to Proceed [Dkt. 1491].

         Status: Pursuant to the Order, this matter has been adjourned to the July 26, 2022
         hearing.

 4.      Motion by Movant Anthony Hernandez Valadez for an Order Granting Relief From the
         Preliminary Injunction to Allow Him to File His Asbestos Personal-Injury Action in
         California State Court, or, in the Alternative, (II) Conduct Discovery, and (III) Waiving
         the Fourteen Day Stay Under Federal Rule of Bankruptcy Procedure 4001(a)(3)
         [Dkt. 2348].

         Status: Pursuant to the Order, this matter has been adjourned to the July 26, 2022
         hearing.




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 5.      Motion by Movant Audra Johnson for an Order Granting Relief From the Preliminary
         Injunction to Allow Her to File an Asbestos Personal-Injury Action in California State
         Court, or, in the Alternative, (II) Conduct Discovery, and (III) Waiving the Fourteen Day
         Stay Under Federal Rule of Bankruptcy Procedure 4001(a)(3) [Dkt. 2349].

         Status: Pursuant to the Order, this matter has been adjourned to the July 26, 2022
         hearing.

 6.      Memorandum Opinion Granting Preliminary Injunction and Resolving Adversary
         Proceeding in Debtor’s Favor [Adv. Pro. Dkt. 184, Dkt. 1573] and Order (I) Declaring
         That Automatic Stay Applies to Certain Actions Against Non-Debtors and
         (II) Preliminarily Enjoining Certain Actions [Adv. Pro. Dkt. 187, Dkt. 1635].

         Status: The hearing with respect to the continuation of the automatic stay and
         preliminary injunction has been adjourned to July 26, 2022.

 UNCONTESTED MATTERS GOING FORWARD IN THE BASE CASE

 7.      Rayburn Cooper & Durham, P.A. Final Application for Compensation of Fees and
         Reimbursement of Expenses of [Dkt. 1748].

         Status: This matter is going forward.

         Objection Deadline: June 29, 2022.

         Related Documents:

         A.       Fee Examiner's Consolidated Supplemental Final Report Pertaining to the First
                  Interim Fee Applications of Brown Rudnick LLP and Rayburn Cooper &
                  Durham, P.A. for the Period from October 14, 2021 through January 31, 2022
                  [Dkt. 2547] (the “Fee Examiner Report”).

         Objections Received: None.

 8.      Brown Rudnick LLP First Interim Application for Compensation of Fees and
         Reimbursement of Expenses [Dkt. 1761].

         Status: This matter is going forward.

         Objection Deadline: June 29, 2022.

         Related Documents:

         A.       The Fee Examiner Report.

         Objections Received: None.




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 9.      Debtor’s Second Motion for Entry of an Order Extending the Period Within Which the
         Debtor May Remove Actions Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal
         Rules of Bankruptcy Procedures [Dkt. 2511].

         Status: This matter is going forward.

         Objection Deadline: June 29, 2022.

         Related Documents: None.

         Objections Received: None.




  Dated: July 1, 2022                            WOLLMUTH MAHER & DEUTSCH LLP

                                                 /s/ Paul R. DeFilippo
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